                       Case 1-18-40661-nhl                  Doc 8       Filed 04/22/18    Entered 04/22/18 21:30:16


 Information to identify the case:
 Debtor 1                Dawn Castagna                                                    Social Security number or ITIN   xxx−xx−4381
                         First Name   Middle Name    Last Name                            EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                         First Name   Middle Name    Last Name
 (Spouse, if filing)
                                                                                          EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court               Eastern District of New York
                                                                                          Date case filed for chapter 7 2/5/18
 Case number:           1−18−40661−nhl



                    NOTICE OF NO CERTIFICATE OF DEBTOR EDUCATION OR
                                    OFFICIAL FORM 423
                  CERTIFICATION ABOUT A FINANCIAL MANAGEMENT COURSE

NOTICE IS HEREBY GIVEN THAT:

The above−named debtor(s) has not filed a Certificate of Debtor Education or Official Form 423 Certification About
a Financial Management Course in accordance with Bankruptcy Rules 1007(b)(7) and 1007(c).

Unless the aforementioned Certificate or Official Form 423 is filed by May 7, 2018, this case may be closed with no
discharge of debtor(s) having been entered.

Notice is further given that if the debtor(s) subsequently file(s) a Motion to Reopen the case to allow for the filing of
the Certificate of Debtor Education or Official Form 423 Certification About a Financial Management Course, the
debtor(s) must pay the full filing fee due for filing such a motion.


 Dated: April 22, 2018


                                                                                For the Court, Robert A. Gavin, Jr., Clerk of Court




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